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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CHRISTOPHER CHANDLER,

 Plaintiff,
                                                    No.1:18-cv-02136-APM
 v.
                                                    Hon. Amit P. Mehta
 DONALD BERLIN, et al.,

 Defendants.



                 DEFENDANTS’ CONSENT TO DISCOVERY EXTENSION

       In accordance with the Court’s Minute Order of this date, Defendants Donald Berlin,

Investigative Consultants, Inc., and Investigative Consultants of Washington, DC, Inc., consent to

the Discovery Extension requested by Plaintiff on July 29, 2022 [Doc. 71].

August 1, 2022                                              Respectfully submitted,

                                                    /s/ Steven M. Oster
                                                    John P. Dean
                                                    D.C. Bar No. 362904
                                                    Steven M. Oster
                                                    D.C. Bar No. 376030

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                                                    Counsel to Defendants
         Case 1:18-cv-02136-APM Document 72 Filed 08/01/22 Page 2 of 2

                               CERTIFICATE OF SERVICE

       I certify that the foregoing Reply was filed using the Court’s CM/ECF system and thereby

served on counsel of record.

August 1, 2022                                     /s/ Steven M. Oster
                                                   Steven M. Oster




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